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                               IN THE UNITED STATES DISTRICT
                                  COURT FOR THE WESTERN
                                    DISTRICT OF VIRGINIA
                                     DANVILLE DIVISION

       UNITED STATES OF AMERICA                        )
                                                       )
       v.                                              )    Case Number: 4:18CR00012
                                                       )
       JAVONTAY JACQUIS HOLLAND                        )

  DEFENDANT HOLLAND’s MOTION IN LIMINE TO EXCLUDE FACEBOOK POSTS
  AND MESSAGES IN THE ABSENCE OF ESTABLISHING PROPER FOUNDATION

            Hundreds of the government’s proposed exhibits in this case involve messaging and posts

  on what purports to be Facebook accounts of the Defendants. In Mr. Holland’s case, the

  government has noticed 70 such items. It is anticipated the government will seek to introduce

  these exhibits under the hearsay exception for “Records of a Regularly Conducted Activity,”

  Federal Rule of Evidence 803(6).


            Messaging in Facebook is analogous to email – a person directs a communication to other

  person(s) who respond(s) and establishes an electronic conversation. If a person “posts” on his/her

  Facebook Wall (a photo, comment, etc.), this most often results in responses from other persons.

  This results in an electronic conversation analogous to email communications.


            Emails are a “more casual” form of communications than other business records

  contemplated under Rule 803(6) and more specificity is required to show a particular email is a

  reliable business record. In United States v. Cone, 714 F.3d 197, 219-20 (4th Cir. 2013), the

  Fourth Circuit observed:


                   The business records exception assumes that records containing
                   information necessary in the regular running of a business will be
                   accurate and reliable. Email, however, is typically a more casual
                   form of communication than other records usually kept in the course

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                  of business, such that it may not be appropriate to assume the same
                  degree of accuracy and reliability.
          In Cone, the appellate court found the district court abused its discretion in admitting the

  emails without the government providing more specificity showing that a particular email

  constituted a reliable business record. As the Court held:


                  While properly authenticated e-mails may be admitted into evidence
                  under the business records exception, it would be insufficient to
                  survive a hearsay challenge simply to say that since a business keeps
                  and receives e-mails, then ergo all those emails are business records
                  falling within the ambit of Rule 803(6)(B). An e-mail created within
                  a business entity does not, for that reason alone, satisfy the business
                  records exception of the hearsay rule. The district court’s
                  observation that the e-mails were kept as a ‘regular operation of the
                  business’ is simply insufficient on that basis alone to establish a
                  foundation for admission under Rule 803(6)(B).


  Id. at 220 (internal citations omitted).1 See also Morisseau v. DLA Piper, 532 F.Supp.2d 595

  (S.D.N.Y. 2008); United States v. Ferber, 966 F.Supp. 90 (D. Mass. 1997) (stating that it “is not

  the law [that] virtually any document found in the files of a business which pertain[s] in any way

  to the functioning of that business [is] admitted willy-nilly as a business record.”); Versata

  Software, Inc. v. Internet Brands, Inc., 2012 U.S. Dist. LEXIS 92920 (D. Tex. July 5, 2012) (stating

  that “[i]f occasional communications among employees of a business that relate to the operation

  of the business were to qualify as business records for purposes of Rule 803(6), that would convert

  the exception for ‘business records’ into an exception for ‘business communications’ and would

  open the door to a vast array of communications within a business, contrary to the conventional

  understanding of the business records exception.”)




  1
    This evidentiary error was found to be harmless in Cone because it concerned a “minute portion” of the
  overwhelming direct and physical evidence against the defendants.

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             In Mr. Holland’s case, the government has provided no context or specificity as to the

  reliability, trustworthiness or relevancy of the messaging and posts. Testimony or certification by

  a Facebook custodian of records is insufficient to establish a proper foundation. As with the

  analogous email situation, mere technical adherence to the authentication usually required under

  Rule 803(6) is an insufficient foundation for admissibility. The government must establish how

  an electronic conversation between Mr. Holland and another person constitutes a record integral

  to Facebook’s corporate operations.


             While Facebook may maintain an inventory of messaging/posts, these items do not rise to

  the status of a corporate business record. Facebook is a conduit for information dispersal and the

  messaging/posts are not an integral part of corporate operations, mandated record keeping or, from

  the discovery, are not monitored by Facebook. As stated in Cone: “The business records

  exception assumes that records containing information necessary in the regular running of a

  business . . .” Supra. There is no information in Mr. Holland’s messaging and posts that are

  necessary to Facebook’s corporate operations.


             In an analogous situation, web postings are not business records of internet service

  providers:2


                      [Defendant] tries to fit web postings in as a hearsay objection under
                      Federal Rule of Evidence 803(6) as business records . . . Internet
                      service providers, however, are merely conduits. The internet
                      service providers did not themselves post . . . [Defendant] presented
                      no evidence that the Internet service providers even monitored the
                      contents of those web sites. The fact that the Internet service
                      providers may be able to retrieve information that its customers sent
                      does not turn that material into a business record of the Internet
                      service provider. (citations omitted).



  2
      Mr. Holland does not assert that Facebook is an “internet service provider.”

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  United States v. Jackson, 208 F.3d 633, 637 (7th Cir. 2000). Of course, Mr. Holland is not an entity

  subject to Rule 803(6).


          Moreover, Federal Rule of Evidence 602 provides that a witness may testify about a topic

  “only if evidence is introduced sufficient to support a finding that the witness has personal

  knowledge of the matter.” Even if a particular messaging/post qualifies as a hearsay exception

  under the business records exception, any testimony about facts and circumstances surrounding

  the messaging/posts or the contents of the messaging/posts can only properly be admitted through

  a witness who has personal knowledge of the matter – that is, a participant in the electronic

  conversation. A Facebook custodian could not overcome a relevancy objection.


          In accordance with the reasons stated above, Mr. Holland moves to exclude proposed

  Government Exhibits 616 through 686.


                                                       Respectfully submitted,

                                                       JAVONTAY JACQUIS HOLLAND


                                                       s/ Thomas J. Bondurant, Jr.
                                                              Of Counsel

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                                        Certificate of Service

          On this 25th day of October, 2019, I certify this Motion in Limine was filed with the Clerk

  using the CM/ECF system which will send notification of such filing to all counsel of record.


                                                                 s/ Thomas J. Bondurant, Jr.




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